                          IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF ALASKA


 ANTHONY HENRY,                                             Case No. 3:15-cv-00187-RRB

                          Plaintiff,                  ORDER RE: PLAINTIFF’S MOTION
                                                    FOR PARTIAL SUMMARY JUDGMENT
         vs.                                           AS TO COUNT IX (DUE PROCESS)
                                                                (Docket 472)
 MUNICIPALITY OF ANCHORAGE and                                     AND
 MARK MEW,                                           SECOND ORDER RE: DEFENDANTS’
                                                    MOTION FOR SUMMARY JUDGMENT
                          Defendants.                           (Docket 503)




                 Plaintiff moves for partial summary judgment as to Count IX of the Second

Amended Complaint, 1 which alleges a violation of due process under 42 U.S.C. § 1983. 2 Plaintiff

argues that there are no genuine issues of material fact to preclude summary judgment in his favor

as to Count IX. 3 The MOA opposes the motion, and also has moved for summary judgment as to

Count IX. This matter has been fully briefed. 4

                                     I.   STANDARD OF REVIEW

                 Summary judgment is appropriate when the pleadings, depositions, answers to

interrogatories, and admissions on file, together with affidavits, if any, show there is no genuine

issue as to any material fact, and that the moving party is entitled to judgment as a matter of law. 5



        1
            Docket 197 at 13.
        2
            Docket 472.
        3
            Id.
        4
            Dockets 503; 578; 631.
        5
            Fed. R. Civ. P. 56(c).



        Case 3:15-cv-00187-RRB Document 672 Filed 10/26/17 Page 1 of 12
The moving party bears the initial burden of proof for showing that no fact is in dispute.6 If the

moving party meets that burden, then it falls upon the non-moving party to refute with facts that

would indicate a genuine issue of fact for trial. 7 Summary judgment is appropriate if the facts and

allegations presented by a party are merely colorable, or are not significantly probative. 8

                                         II.   BACKGROUND

                The facts surrounding this highly contentious lawsuit have been discussed at length

in prior briefing, as well as in various orders by this Court. 9 However, certain facts relevant to due

process which previously have not been articulated by the Court are as follows:

                The MOA terminated Plaintiff for “just cause” effective April 1, 2015, based on

allegations in the Brown report which concluded that Plaintiff had violated multiple APD policies.

The parties disagree as to whether this report was properly characterized as an internal

investigation (“IA”). 10 The parties do appear to agree that the MOA’s personnel rules provide that

APD can establish its own “written agency rules,” and that the “APD Policy and Procedure

Manual” includes provisions that define the discipline meted out by the MOA for “disciplinary

and corrective action.” The parties disagree as to whether the APD Policy and Procedure Manual

applies to Lt. Henry.

                Under the MOA’s personnel rules, the MOA could terminate an employee for just

cause, as defined in the Anchorage Municipal Code (“AMC”). 11 In such an instance, the personnel

rules provide a procedure for a grievance, arbitration, and a pre-disciplinary hearing, and the



         6
           Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986).
         7
           Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250 (1986).
         8
           Id.; see also In re Lewis, 97 F.3d 1182, 1187 (9th Cir. 1996); Taylor v. List, 880 F.2d 1040, 1045
(9th Cir. 1995).
         9
           See Docket 194.
        10
            Dockets 472 at 3; 578 at 2.
        11
            AMC § 3.30.0915.

Henry v. Municipality of Anchorage, et al.                                      Case No. 3:15-cv-00187-RRB
Order re Motions for Summary Judgment of Count IX                                                    Page 2
         Case 3:15-cv-00187-RRB Document 672 Filed 10/26/17 Page 2 of 12
employee can opt into either a grievance (pre-termination) procedure or a post-termination

procedure. 12 If, upon notice of intent to terminate, the employee elects a pre-termination hearing,

it must occur within fifteen days. 13 If the employee selects a post-termination grievance and

arbitration process, employment is deemed terminated at that point subject to challenge by a

grievance, appeal to the mayor, and arbitration. 14

                The MOA argues that, upon being notified of the MOA’s intent to terminate his

employment, Henry was advised in accordance with the foregoing. 15 He was informed of his

impending termination, and his options were explained verbally and provided in writing. 16

Plaintiff was provided with seven days to select from: (1) a pre-disciplinary hearing; (2) a post-

disciplinary grievance and arbitration; or (3) neither a pre-disciplinary hearing nor a post-

disciplinary grievance/arbitration. 17 The written explanation was very clear that Plaintiff could

only accept a pre-disciplinary or post-disciplinary option, but not both.18 Plaintiff selected the

post-termination grievance and arbitration process, effectively waiving any pre-termination

hearing. 19

                There is some factual dispute regarding when a copy of the Brown report was

forwarded to the Alaska Police Standards Council (“APSC”), which formed the basis of a formal

public action to revoke Plaintiff’s police certificate. 20 Plaintiff suggests it was only two weeks



        12
            Docket 472 at 8 (citing AMC §§ 3.30.101, 3.30.102, 3.30.103.40).
        13
            AMC § 3.30.103(B).
         14
            AMC §§ 3.30.101–102.
         15
            Docket 503 at 55.
         16
            Dockets 472 at 4–5; 579-3.
         17
            In addition to one of the three foregoing choices, Plaintiff could object to the hearing officer
designated by the Municipality.
         18
            Docket 579-3.
         19
            Docket 472 at 5. Employee Relations Director Usera ultimately denied the grievance on May 19,
and on May 29, 2015, Mayor Sullivan denied Henry’s Step 2 appeal; Henry subsequently “abandoned the
arbitration process without explanation.” Docket 503 at 56.
         20
            Docket 472 at 6.

Henry v. Municipality of Anchorage, et al.                                     Case No. 3:15-cv-00187-RRB
Order re Motions for Summary Judgment of Count IX                                                   Page 3
         Case 3:15-cv-00187-RRB Document 672 Filed 10/26/17 Page 3 of 12
after his termination, prior to the resolution of his grievance. Plaintiff also alleges that the MOA’s

attorneys forwarded the Brown report to the Office of Special Prosecutions and Appeals in

February or March 2015, before Plaintiff was even fired. 21 Defendants disagree, stating only that

the Municipal Attorney forwarded the report to Judge Collins, who was serving as a special

investigator for the State of Alaska. “Judge Collins is believed to have forwarded a copy to OSPA.

Many months later, the Municipality also furnished a copy to OSPA.” 22

                                         III.   DISCUSSION

                In Count IX, Plaintiff asserts that his due process rights were violated. Specifically,

he alleges that the MOA failed to provide him with procedural due process, including the right to

a pre-termination hearing in addition to the opportunity to respond to the proposed disciplinary

action before he was terminated. 23 He also complains that the MOA violated applicable APD

policies, and that his termination unconstitutionally deprived him of his job, 24 improperly

imposing a “stigma of moral turpitude.” 25

A.      Pre-Termination (“Loudermill”) Hearing

                Plaintiff argues that he was entitled to sufficient notice of the reasons for his

termination, and an opportunity to present his side of the story before termination. 26 He complains

that the MOA mandate that his right to a pre-termination hearing was contingent on his waiver of

any post-termination process violates due process, and therefore is unconstitutional as a matter of




        21
           Id. at 14.
        22
           Docket 578 at 3.
        23
           Docket 197 at 13.
        24
           There is no dispute that Lt. Henry’s employment was a “significant property interest” for
purposes of a Due Process analysis. Docket 578 at 4.
        25
           Docket 472 at 2 (citing Cleveland Bd. of Educ. v. Loudermill, 470 U.S. 532, 542 (1985); Roley
v. Pierce Cty. Fire Prot. Dist. No. 4, 869 F.2d 491, 495 (9th Cir. 1989)).
        26
           Docket 472 at 9.

Henry v. Municipality of Anchorage, et al.                                  Case No. 3:15-cv-00187-RRB
Order re Motions for Summary Judgment of Count IX                                                Page 4
        Case 3:15-cv-00187-RRB Document 672 Filed 10/26/17 Page 4 of 12
law. 27 “The intent of the pre-termination hearing under Loudermill is not to resolve all of the

issues, but to give the employee an opportunity to respond to the facts upon which the charge is

based, since more extensive, post-termination procedures are supposed to be available to address

those issues.” 28 The problem with the MOA’s policy, Plaintiff argues, is that it is designed to

preclude an employee from litigating any employment-related issue. He argues that, had he chosen

to avail himself of a pre-termination hearing, he would have waived his right to any future litigation

regarding his termination, including contesting the hearing officer’s finding at a later date, the right

to discovery, and any post-termination proceeding related to his wrongful termination claim.29

Although a pre-disciplinary decision could be appealed to the Alaska Superior Court, Plaintiff

argues, appellate review is limited to “substantial evidence” under AMC § 3.30.103.

                In response, the MOA argues that it simply is not true that Henry would have

waived his right to any future litigation regarding his termination if he had elected a pre-

termination hearing. 30 “Under Alaska law, if Henry had elected a pre-termination hearing, or if he

had elected neither a pre-termination hearing nor post-termination arbitration, he would have been

entitled to sue the Municipality on his employment claims for breach of contract as well as on his

independent statutory claims.” 31 “Only when electing the alternative remedy of post-termination

arbitration does an employee forego the right to sue on his contract claims.” 32 The MOA explains

that under AMC § 3.30.103, if Henry had pursued a pre-termination hearing, he could have

appealed any of those legal rulings, subject to a substantial evidence standard, but that appeal of



        27
          Id.
        28
          Id. at 16.
       29
          Id.
       30
          Docket 578 at 4.
       31
          Id. at 5 (citing Storrs v. Municipality of Anchorage, 721 P.2d 1146, 1149 (Alaska 1986)).
       32
          Id. (citing Circuit City Stores, Inc. v. Adams, 532 U.S. 105, 123 (2001); Bruns v. Municipality
of Anchorage, 32 P.3d 362, 367–68 (Alaska 2001)).

Henry v. Municipality of Anchorage, et al.                                   Case No. 3:15-cv-00187-RRB
Order re Motions for Summary Judgment of Count IX                                                 Page 5
        Case 3:15-cv-00187-RRB Document 672 Filed 10/26/17 Page 5 of 12
termination would be separate from a claim of retaliation or otherwise wrongful termination.

Henry was presented with a choice between a pre-termination hearing and a post-termination

procedure, and was advised that acceptance of one was essentially waiver of the other. Defendants

argue that Henry waived the right to a pre-termination hearing. 33

                 The Supreme Court of Alaska has addressed the applicability of Federal due

process rights in the context of Anchorage police officers.           In Storrs v. Municipality of

Anchorage, 34 the Alaska Supreme Court observed:

                         The root of due process is the right to a hearing before a
                 deprivation of property. [Cleveland Bd. of Educ. v.] Loudermill,
                 470 U.S. at [542] . . . . The nature of the employee’s pretermination
                 rights varies, depending in part on the nature of subsequent
                 proceedings available. Loudermill, 470 U.S. at [545] . . . . The
                 procedure should provide an initial check against a mistaken
                 decision by the employer, ensuring that there are reasonable grounds
                 to believe the allegations against the employee are true. Id. At a
                 minimum, the employee must receive oral or written notice of the
                 proposed discharge, an explanation of the employer’s evidence and
                 an opportunity to present his position. Id. 35

                 The Alaska Supreme Court recently has weighed in again on the issue of due

process in the context of internal termination hearings in Brandner v. Providence Health & Servs.,

Washington. 36 In Brandner, the Plaintiff was terminated from Providence Alaska Medical Center

(“the Hospital”) for violating hospital policy. He unsuccessfully challenged his termination

through the hospital’s internal post-termination hearing and appeal procedures. Dr. Brandner later

sued in state court, seeking reinstatement and damages for procedural and substantive due process

violations. The Alaska Supreme Court found that Dr. Brandner’s due process rights were violated

by the procedures the hospital employed “because he was not given any opportunity to be heard


        33
             Id. at 9.
        34
             721 P.2d 1146 (Alaska 1986).
        35
             Id. at 1149.
        36
             394 P.3d 581 (Alaska 2017).

Henry v. Municipality of Anchorage, et al.                                 Case No. 3:15-cv-00187-RRB
Order re Motions for Summary Judgment of Count IX                                               Page 6
        Case 3:15-cv-00187-RRB Document 672 Filed 10/26/17 Page 6 of 12
prior to the termination of his hospital privileges.” 37       Regardless of any procedures after

terminating Plaintiff’s hospital privileges, the Court found that these procedures did not remedy

the failure to provide procedures before termination. 38 However, the Alaska Supreme Court

declined to articulate “what kind of opportunity to be heard” is required to meet due process

concerns, noting only that a formal hearing is not necessarily required to provide pre-termination

due process. 39

                  Plaintiff alleges that the decision to fire him was made in secret. But, Defendants

argue that Henry received notice of the proposed termination, received a copy of an explanation

of the evidence against him, and was afforded an opportunity to respond. 40 Defendants cite to the

facts recited in Plaintiff’s underlying motion, which reflect that Henry met with former Chief Mark

Mew and Ms. Usera for his “pretermination meeting” on March 25, 2015. At that time, he was

provided with a copy of the Brown report and attachments, the MOA-generated election form, an

unsigned “Disciplinary Action Report” describing the basis for termination (including the facts in

the Brown report and relevant Municipal Code provisions), and a statement by Ms. Usera

explaining the process. 41 Absent from this factual summary is any opportunity for Henry to be

heard on the day of his firing. Plaintiff alleges that he “tried to discuss the allegations with those

present at the meeting, but was precluded from asking meaningful questions and getting

answers.” 42 However, the Court observes that the Brown investigation went on for six months




        37
             Id. at 584.
        38
             Id. at 589.
        39
             Id. at 588.
        40
             Docket 578 at 10.
        41
             Docket 472 at 3–4.
        42
             Id. at 5.

Henry v. Municipality of Anchorage, et al.                                 Case No. 3:15-cv-00187-RRB
Order re Motions for Summary Judgment of Count IX                                               Page 7
        Case 3:15-cv-00187-RRB Document 672 Filed 10/26/17 Page 7 of 12
prior to his termination, during which time Henry was interviewed and advised that Brown was

looking at the facts and circumstances surrounding Henry’s disclosures. 43

                  As the Supreme Court explained in Loudermill, “In general, ‘something less’ than

a full evidentiary hearing is sufficient prior to adverse administrative action.” 44 A “pretermination

hearing need not definitively resolve the propriety of the discharge. It should be an initial check

against mistaken decisions—essentially, a determination of whether there are reasonable grounds

to believe that the charges against the employee are true and support the proposed action.” 45 “To

require more than [notice and an opportunity to respond] prior to termination would intrude to an

unwarranted extent on the government's interest in quickly removing an unsatisfactory

employee.” 46

                  The Court is unclear whether this case more closely resembles Storrs or Brandner.

The Storrs court determined that, after an investigation and interview process which went on for

over two weeks, “the pretermination procedure followed by the Municipality comported with

minimum federal due process requirements.” 47 It also concluded “that Storrs received notice, an

explanation of the evidence against him and a sufficient opportunity to respond during the course

of the [prior] investigation.” 48 Here, the Brown investigation went on for six months prior to

Henry’s termination.        The question is whether the Brown investigation was akin to the

investigation in Storrs, or whether Henry’s firing more closely resembles that of the firing of the

physician in Brandner.




        43
             Docket 610-26 at 2.
        44
             470 U.S. at 545.
        45
             Id. at 545–46.
        46
             Id. at 546.
        47
             721 P.2d at 1149.
        48
             Id.

Henry v. Municipality of Anchorage, et al.                                 Case No. 3:15-cv-00187-RRB
Order re Motions for Summary Judgment of Count IX                                               Page 8
        Case 3:15-cv-00187-RRB Document 672 Filed 10/26/17 Page 8 of 12
B.        APD Policy and Procedure Manual

                   Henry argues that the APD Policy Manual provides additional applicable rules

regarding “Internal Investigation / Discipline.” Policy 2.04.010 states that its purpose is to “inform

all employees of procedures governing disciplinary and corrective action,” and provides “how the

Department shall handle those complaints proven to be sustained.” 49 The policy also states that

an employee has “the right to be heard, prior to the final imposition of discipline, for proposed

discipline that could result in termination, demotion, suspension, or, [sic] disciplinary transfer.”50

In fact, Henry argues, the APD’s own administrative review board contains a provision titled “Pre-

Disciplinary Review (Loudermill)” related to allegations of “suspension from duty or greater,” and

describes protections available to “all employees.”

                   But, the MOA argues that Henry was not entitled to proceed under APD Policies

2.04.010 or 2.04.005, because Henry was a Police Lieutenant and was therefore not covered by

the Collective Bargaining Agreement (“CBA”). The MOA argues that the referenced APD

policies merely implemented the terms and conditions of the employment of police officers who

were covered under the CBA, and that the only relevant MOA Personnel Rules setting forth due

process available for a non-CBA employee confronting termination are found at AMC § 3.30.100–

103. 51

                   The Court has reviewed the APD Policies Manual, which is available online. 52 The

APD Policy and Procedures Manual does not appear to apply only to those officers covered by the

CBA. Rather, it expressly states that it applies to “all employees,” while carving out specific




          49
               Docket 472 at 8.
          50
               Docket 59-10 at 4.
          51
               Docket 578 at 7.
          52
               http://www.muni.org/Departments/police/Documents/PUBLICPIManual022014.pdf.

Henry v. Municipality of Anchorage, et al.                                 Case No. 3:15-cv-00187-RRB
Order re Motions for Summary Judgment of Count IX                                               Page 9
          Case 3:15-cv-00187-RRB Document 672 Filed 10/26/17 Page 9 of 12
sections that specifically address the interplay of the Manual with the CBA. 53 “Employee” is

defined as “all personnel employed by the Department, regardless of rank, position, assignment,

or gender.” 54 Moreover, “[t]he regulations and procedures contained herein apply to all personnel

under the organizational management of the Chief of Police, unless the applicability is specifically

limited by the nature or language of that particular regulation or procedure.” 55 “Descending order

of rank” is defined as: “A) Chief of Police; B) Deputy Chief of Police; C) Captain; D) Lieutenant;

E) Sergeant F) Patrol Officer/Warrant Officer/Detective (these different job titles share the

equivalent rank status).” 56

                The Court is hard-pressed to conclude that the APD Policy and Procedures Manual

was not applicable to Lt. Henry, absent some clear Alaska case law or legislative action indicating

that it does not. Nevertheless, the questions of fact surrounding the adequacy of the pre-

termination process remain the same.

C.      Reporting the Termination to the Alaska Police Standards Council (“APSC”)

                Henry also argues that, before he even submitted his grievance, the MOA

forwarded the Brown report to the APSC, prompting formal public action to revoke his police

certificate, and also facilitated an ALASKA DISPATCH NEWS article which stated that he lied, thus



        53
            Procedures 2.04.000–005 state as follows: “The purpose of this policy is to inform all employees
of procedures for accepting, processing, and investigating complaints.” Id. at 82. “Collective Bargaining
Agreement (CBA): Refers to the current contract in effect between the Municipality of Anchorage and the
Anchorage Police Department Employees Association (APDEA).” Id. at 83. The CBA is not mentioned
in sections 1 through 4, which discuss accepting and filing complaints, complaint investigation process
general guidelines, commendations, and intake supervisor roles and responsibilities. Id. at 85–86. In
section 5, Investigating Supervisor Roles and Responsibilities, the manual mentions the CBA three times,
incorporating the CBA rules within the policy manual. In section 6, “Internal Affairs: Roles and
Responsibilities,” the CBA is mentioned one time. Following the filing of a complaint, Internal Affairs
must “[n]otify the employee of the receipt of the complaint per CBA, when applicable.” Id. at 88. The
CBA is not mentioned in sections 7 through 12. Id. at 89–91.
         54
            APD Policy and Procedure Manual § 1.01.000.
         55
            APD Policy and Procedure Manual § 1.01.005.
         56
            APD Policy and Procedure Manual § 1.01.000.

Henry v. Municipality of Anchorage, et al.                                     Case No. 3:15-cv-00187-RRB
Order re Motions for Summary Judgment of Count IX                                                  Page 10
        Case 3:15-cv-00187-RRB Document 672 Filed 10/26/17 Page 10 of 12
forever affecting his ability to work as a police officer, as well as his ability to obtain top secret

security clearance. 57 Henry argues that the MOA violated his right to due process by terminating

him and sending the termination documents to the APSC without pre-termination notice and a

hearing.

                  The MOA argues that Alaska law mandates that the Police Department report to

APSC, within 30 days following the termination of an officer’s employment, a detailed explanation

of the reason the officer is no longer employed by the agency, as well as sustained allegations of

conduct that may disqualify the officer from retaining certification. 58 Defendants suggest that if

the Municipality’s compliance with the State Regulation is a violation of due process, then Henry’s

claim properly lies against the State.

                  Essentially, this claim is a sub-category of Henry’s underlying due process claim.

If the MOA failed to provide an adequate pre-termination right to be heard, then its compliance

with state law requiring disclosure after termination is irrelevant.            If Henry was properly

terminated, then its compliance with state law is not actionable.

                                          IV.   CONCLUSION

                  The issue of due process in this matter hinges on whether Plaintiff was provided

with an adequate opportunity to be heard pre-termination. The Court concludes that issues of fact

remain in this regard, including but not limited to whether Plaintiff was aware during the Brown

investigation that he was being investigated, with the possibility of termination, and whether he

had an adequate opportunity to be heard during that investigation.

                  The motion for summary judgment at Docket 472, and the due process portion of

the summary judgment motion at Docket 503, are DENIED.


        57
             Docket 472 at 6.
        58
             Docket 578 at 10 (citing Alaska Admin. Code tit. 13, § 85.090).

Henry v. Municipality of Anchorage, et al.                                     Case No. 3:15-cv-00187-RRB
Order re Motions for Summary Judgment of Count IX                                                  Page 11
        Case 3:15-cv-00187-RRB Document 672 Filed 10/26/17 Page 11 of 12
                  The Court notes that a number of counts now have been dismissed in this matter,

and there are twelve remaining motions for the Court’s consideration. 59 The parties are directed

to evaluate this matter in light of the recent orders, to advise the Court on or before November 1,

2017 (via a joint or individual status reports), as to which of those motions remain relevant, and to

withdraw those motions which are no longer relevant or upon which the parties have been able to

reach a compromise. The Court will lift the stay after reviewing the status report(s).

                  IT IS SO ORDERED this 26th day of October, 2017, at Anchorage, Alaska.


                                                                     /s/ Ralph R. Beistline
                                                                   RALPH R. BEISTLINE
                                                              Senior United States District Judge




        59
             Docket Nos. 475; 478; 480; 482; 485; 486; 488; 491; 500; 507; 509; 513.

Henry v. Municipality of Anchorage, et al.                                    Case No. 3:15-cv-00187-RRB
Order re Motions for Summary Judgment of Count IX                                                 Page 12
        Case 3:15-cv-00187-RRB Document 672 Filed 10/26/17 Page 12 of 12
